Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 1 of 18




                         EXHIBIT 1
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 2 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017

 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · · · FOR THE DISTRICT OF COLORADO

 ·3·     ·Civil Action No. 15-CV-2507-JLK
 · ·     ·________________________________________________________
 ·4
 · ·     ·KYLE JEFFERY SCHWARK,
 ·5
 · ·     · · · ·Plaintiff,
 ·6
 · ·     ·vs.
 ·7
 · ·     ·SHERIFF FRED WEGENER, in his official and
 ·8·     ·individual capacities; NURSE SUSAN CANTERBURY,
 · ·     ·in her individual capacity; NURSE JERI SWANN,
 ·9·     ·in her individual capacity; NURSE CATHLENE
 · ·     ·PEARCE, in her individual capacity; DOCTOR
 10·     ·KATHERINE FITTING, in her individual capacity,

 11·     · · · ·Defendants.
 · ·     ·________________________________________________________
 12
 · ·     · · · · · · · ·DEPOSITION OF FRED WEGENER
 13
 · ·     · · · · · · · · · · ·April 12, 2017
 14·     ·________________________________________________________

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25


                                    Stevens-Koenig Reporting                                 ·
                               303-988-8470· www.SKReporting.com
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 3 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                      Page 2
 ·1· ·APPEARANCES:

 ·2·     ·ON     BEHALF OF THE PLAINTIFF:
 · ·     · ·     · · · DAVID A. LANE, ESQ.
 ·3·     · ·     · · · DUNIA DICKEY, ESQ.
 · ·     · ·     · · · Killmer, Lane & Newman, LLP
 ·4·     · ·     · · · 1543 Champa Street, Suite 400
 · ·     · ·     · · · Denver, Colorado 80202
 ·5·     · ·     · · · Phone:· 303-571-1000
 · ·     · ·     · · · Email:· dlane@kln-law.com
 ·6·     · ·     · · · Email:· ddickey@kln-law.com

 ·7·     ·ON BEHALF OF DEFENDANTS SHERIFF FRED WEGENER, NURSE
 · ·     ·SUSAN CANTERBURY, AND NURSE JERI SWANN:
 ·8·     · · · · · ERIC ZIPORIN, ESQ.
 · ·     · · · · · Senter Goldfarb & Rice
 ·9·     · · · · · 3900 East Mexico Avenue, Suite 700
 · ·     · · · · · Denver, Colorado 80210
 10·     · · · · · Phone:· 303-320-0509
 · ·     · · · · · Email:· eziporin@sgrllc.com
 11
 · ·     ·ON     BEHALF OF DEFENDANT DR. KATHERINE FITTING:
 12·     · ·     · · · STEVEN A. MICHALEK, ESQ.
 · ·     · ·     · · · Childs McCune
 13·     · ·     · · · 821 17th Street, Suite 500
 · ·     · ·     · · · Denver, Colorado 80202
 14·     · ·     · · · Phone:· 303-296-7300
 · ·     · ·     · · · Email:· smichalek@childsmccune.com
 15
 · ·     ·Also Present:
 16·     · · · · · Kyle Schwark

 17

 18

 19

 20

 21

 22

 23

 24

 25


                                    Stevens-Koenig Reporting                           ·Page 2
                               303-988-8470· www.SKReporting.com
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 4 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 12
 ·1· · · · A.· · They would have that in the computer.
 ·2· · · · Q.· · The records people at your jail know when he
 ·3· ·is supposed to be released?
 ·4· · · · A.· · Correct.
 ·5· · · · Q.· · But you do have the authority to furlough
 ·6· ·somebody for some serious emergency, right?
 ·7· · · · A.· · Correct.
 ·8· · · · Q.· · And in 27 years of being associated with the
 ·9· ·sheriff's department, you've only seen that happen a
 10· ·couple times; is that --
 11· · · · A.· · Few times, that's correct.
 12· · · · Q.· · And Kyle Schwark was one of those times,
 13· ·right?
 14· · · · A.· · That's correct.
 15· · · · Q.· · Because he obviously had some very serious
 16· ·medical needs that needed attention, right?
 17· · · · A.· · That's right.
 18· · · · Q.· · Do you recall what those medical needs were?
 19· · · · A.· · No, I don't recall.
 20· · · · Q.· · Okay.· The mittimus talks about other
 21· ·conditions.· He has to report immediately to probation,
 22· ·presumably after he is incarcerated, after his
 23· ·incarceration is over, right?· It says, Report
 24· ·immediately to probation --
 25· · · · A.· · Follow standard terms and conditions of --

                                    Stevens-Koenig Reporting                          ·Page 12
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 5 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 14
 ·1· · · · Q.· · But all of this stuff is generally -- you
 ·2· ·would look at this if you were in your intake position
 ·3· ·and say, Okay.· All that's for when you get released,
 ·4· ·Mr. Schwark.· But then it says, "Take medication as
 ·5· ·required on a timely basis even while in custody,"
 ·6· ·right?
 ·7· · · · A.· · Yes.· That's what it says.
 ·8· · · · Q.· · Now, that means that the jail has some
 ·9· ·responsibility to do something here, right?
 10· · · · · · · MR. MICHALEK:· Object to form.
 11· · · · A.· · To make sure -- yes, to make sure that any
 12· ·medications he has, that he is supposed to take.
 13· · · · Q.· · (By Mr. Lane)· But he has taken them, right?
 14· · · · A.· · Yeah.
 15· · · · Q.· · Okay.· Now, that would also require that
 16· ·somebody tell the jail, what are these required
 17· ·medications that we're talking about here, right?
 18· · · · A.· · Yes.· Somebody would have to tell the jail
 19· ·what they are.
 20· · · · Q.· · So walk me through the process here.· You're
 21· ·the intake person at jail.· You get this mittimus.· You
 22· ·say, Okay.· Kyle, you're supposed to take medication as
 23· ·required on a timely basis even while in custody.
 24· ·First thing you want to know is what medications are
 25· ·you required to take, right?

                                    Stevens-Koenig Reporting                          ·Page 14
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 6 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 22
 ·1· · · · · · · MR. MICHALEK:· Object to form.
 ·2· · · · · · · MR. ZIPORIN:· Same objection.
 ·3· · · · A.· · Now, I don't know whether or not they called
 ·4· ·or -- I don't know.· I have no --
 ·5· · · · Q.· · (By Mr. Lane)· Well, what's the policy and
 ·6· ·procedure at the jail?· If a judge orders opioids at
 ·7· ·the jail, what is the protocol at the jail for they are
 ·8· ·supposed to do?
 ·9· · · · A.· · Again, all the judge is ordering is
 10· ·treatment.· We don't -- I mean, as far as the
 11· ·prescriptions or the medications themselves, that all
 12· ·has to be worked out by the medical staff.
 13· · · · Q.· · Well, let me just ask you this:· If a judge
 14· ·has information that somebody needs a specific hard
 15· ·medication, for example -- this is a hypothetical --
 16· ·and the doctor has told the judge, Look -- not the jail
 17· ·doctor, but the person's doctor -- he has to have this
 18· ·specific med.· There is no substitute allowed.· He's
 19· ·got to have this med because he is allergic to whatever
 20· ·else and he is indigent and it is coming out of the
 21· ·jail's budget and the judge orders it.· And the jail
 22· ·doctor says, Wait a minute.· We can substitute this
 23· ·generic substitute.· It's much cheaper, does the same
 24· ·thing.· And the inmate says, No, I'm allergic to all
 25· ·that stuff.· This is the only one I can take.· What

                                    Stevens-Koenig Reporting                          ·Page 22
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 7 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 23
 ·1· ·would be the protocol under a situation like that?                              I
 ·2· ·mean, you would agree that the judge has the authority
 ·3· ·to say, No, you are getting him that med that I've
 ·4· ·ordered, wouldn't you?
 ·5· · · · · · · MR. ZIPORIN:· Object to form and foundation.
 ·6· · · · · · · MR. MICHALEK:· Object to form.
 ·7· · · · A.· · No.· The judge can't do that.
 ·8· · · · Q.· · (By Mr. Lane)· Why do you think the judge
 ·9· ·can't do that?
 10· · · · A.· · Because if he was going to say that that was
 11· ·the only pill that he could take, then we would have a
 12· ·conversation.
 13· · · · Q.· · You might have a conversation.· But at the
 14· ·end of the day, the judge is wearing a black robe and
 15· ·you are not.· Who wins that discussion?
 16· · · · A.· · And the individual by statute running the
 17· ·facility?
 18· · · · Q.· · I'm just asking your opinion.
 19· · · · A.· · I win.
 20· · · · Q.· · You win?
 21· · · · A.· · That's right.
 22· · · · Q.· · You can countermand a judge's order?
 23· · · · A.· · Well, no, I can't countermand his order, but
 24· ·the judge and I are going to talk --
 25· · · · Q.· · Right.

                                    Stevens-Koenig Reporting                          ·Page 23
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 8 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 24
 ·1· · · · A.· · -- and I'm in charge of running the jail.
 ·2· · · · Q.· · And the judge is in charge of what you do at
 ·3· ·the jail, isn't he?
 ·4· · · · · · · MR. ZIPORIN:· Object to form, foundation.
 ·5· ·You can answer.
 ·6· · · · A.· · You would have to specify, what I can do at
 ·7· ·the jail.
 ·8· · · · Q.· · (By Mr. Lane)· Judges shut down jails
 ·9· ·sometimes, don't they, for violating various cruel and
 10· ·unusual punishment provisions, don't they?
 11· · · · A.· · Yeah.· I believe a federal judge probably
 12· ·could do that.
 13· · · · Q.· · But not a state judge?
 14· · · · A.· · I don't know as far as what -- a state
 15· ·judge.· Like a district court judge?
 16· · · · Q.· · Yeah.
 17· · · · A.· · I've not heard of that, no.
 18· · · · Q.· · Okay.· But it's your training that if a
 19· ·judge orders something that violates jail policy, jail
 20· ·policy wins, right?
 21· · · · A.· · Yeah.· If there is going to be a problem
 22· ·where the judge is really hell-bent on the fact it's
 23· ·got to be this particular medication, then we are
 24· ·probably going to have to have a talk because we just
 25· ·can't do that.

                                    Stevens-Koenig Reporting                          ·Page 24
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 9 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 29
 ·1· ·where one of your deputies suddenly becomes very sick?
 ·2· · · · A.· · Where my deputy becomes sick?
 ·3· · · · Q.· · Yeah.· Or a staff person at the jail has a
 ·4· ·seizure or something like that, along those lines.
 ·5· · · · A.· · Fallen down, yes.
 ·6· · · · Q.· · What was your response when that happened?
 ·7· ·What did you do?
 ·8· · · · A.· · Called the nurse, first aid, you know, or
 ·9· ·whatever the -- or if we need an ambulance.
 10· · · · Q.· · Have you ever had a situation where a member
 11· ·of the sheriff's department, either patrol or jail or
 12· ·court or however you divide it up, has a seizure on the
 13· ·job?
 14· · · · A.· · I don't recall anybody having a seizure.
 15· · · · Q.· · If you did, would you call an ambulance?
 16· · · · A.· · The nurse, if the nurse was right there.
 17· ·And if she dictated that we needed an ambulance, we
 18· ·would call an ambulance.
 19· · · · Q.· · Okay.· Are you aware that Kyle Schwark had a
 20· ·couple of seizures in the jail?
 21· · · · A.· · No, I'm not.
 22· · · · Q.· · Even as you sit here today?
 23· · · · A.· · No.
 24· · · · Q.· · Okay.· What is the policy or the practice in
 25· ·the jail when you have an inmate who is hallucinating?

                                    Stevens-Koenig Reporting                          ·Page 29
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 10 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 30
 ·1· · · · A.· · Well, get ahold of medical, find out what --
 ·2· ·then they would probably talk to the individual, see
 ·3· ·what's going on, figure out what needs to happen, do we
 ·4· ·need a psychiatrist, do we need -- whatever the case
 ·5· ·may be, and then isolate him if it's appropriate.
 ·6· · · · Q.· · What's the purpose of isolating someone who
 ·7· ·is hallucinating?
 ·8· · · · A.· · To keep a closer eye on them.
 ·9· · · · Q.· · Do you put them in an observation area?
 10· · · · A.· · Well, there is a camera in the cell, so you
 11· ·monitor them a little easier.
 12· · · · Q.· · Okay.· And what is your understanding of if
 13· ·somebody is actively psychotic and hallucinating, do
 14· ·you view that as a serious medical need?
 15· · · · A.· · It can be --
 16· · · · · · · MR. ZIPORIN:· Object to form.· Go ahead.
 17· · · · · · · THE DEPONENT:· I'm sorry.
 18· · · · A.· · It can be.· It can require, yeah.
 19· · · · Q.· · (By Mr. Lane)· So what do you do?· I mean,
 20· ·you put them in an observation cell.
 21· · · · A.· · Yeah.
 22· · · · Q.· · And then what?
 23· · · · A.· · Well, medical may require, like I say,
 24· ·15-minute status or checks.· He may get -- like I say,
 25· ·get ahold of a psychiatrist, see if they need to be

                                    Stevens-Koenig Reporting                          ·Page 30
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 11 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 32
 ·1· · · · A.· · That looks familiar.
 ·2· · · · Q.· · It's signed by you, right?
 ·3· · · · A.· · Correct.
 ·4· · · · Q.· · And it says Schwark is released due to his
 ·5· ·medical conditions, which are serious and life
 ·6· ·threatening, right?
 ·7· · · · A.· · Correct.
 ·8· · · · Q.· · But you don't recall what those were?
 ·9· · · · A.· · No.· That's kind of a boilerplate form as
 10· ·far as . . .
 11· · · · Q.· · Okay.· And he was then at some point
 12· ·rearrested, correct?
 13· · · · A.· · Yes.
 14· · · · Q.· · And he was supposed to return once he was
 15· ·authorized by his doctor to return, right?
 16· · · · A.· · Yes.· That's correct.
 17· · · · Q.· · And do you know if his doctor had authorized
 18· ·him to return?
 19· · · · A.· · I do not.
 20· · · · Q.· · Okay.· According to this, the only way he
 21· ·should have been brought back to the jail is if his
 22· ·doctor authorized his return, right?
 23· · · · A.· · Yes.· That's -- according to what that says.
 24· · · · Q.· · Now, there is a Park County jail policy and
 25· ·procedure manual, isn't there?

                                    Stevens-Koenig Reporting                          ·Page 32
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 12 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 34
 ·1· ·I guess that's what you are saying.
 ·2· · · · Q.· · Okay.· Well, if he was, then this policy
 ·3· ·would have controlled, right?
 ·4· · · · A.· · It should have, yes.
 ·5· · · · Q.· · Okay.· Personally observed by a detention
 ·6· ·officer at least every 30 minutes.· And then it says,
 ·7· ·"Inmates who are violent or mentally disordered or who
 ·8· ·demonstrate unusual or bizarre behavior receive more
 ·9· ·frequent observation.· Suicidal inmates are under
 10· ·continual observation and fifteen-minute physical
 11· ·checks for living, breathing flesh," right?
 12· · · · A.· · Correct.
 13· · · · Q.· · And was a log maintained outside of the
 14· ·segregation unit indicating each time the unit was
 15· ·visited by an officer?· Is that regularly done?
 16· · · · A.· · That is supposed to be done, yeah.· That's
 17· ·correct.
 18· · · · Q.· · But is it done?
 19· · · · A.· · I don't know.· I'm not there.
 20· · · · Q.· · Okay.· Who is actually in charge of the
 21· ·jail?· I know you're --
 22· · · · A.· · Captain Muldoon.
 23· · · · Q.· · -- the big boss.
 24· · · · · · · Now, take a look at Bates-stamped Page 148,
 25· ·Special Needs Inmates.· Are you there?

                                    Stevens-Koenig Reporting                          ·Page 34
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 13 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 36
 ·1· · · · Q.· · Now, we kind of had a discussion already
 ·2· ·about whose order.· So if Kyle Schwark has a doctor
 ·3· ·on the outside who has ordered something and a
 ·4· ·prescription, should that be administered as ordered
 ·5· ·or --
 ·6· · · · · · · MR. MICHALEK:· Object to form.
 ·7· · · · Q.· · (By Mr. Lane)· -- should Dr. Fitting's
 ·8· ·changes in that order be followed?
 ·9· · · · · · · MR. MICHALEK:· Object to form and
 10· ·foundation.
 11· · · · A.· · Yeah.· It would be as ordered by the medical
 12· ·doctor that we have that works in the facility.
 13· · · · Q.· · (By Mr. Lane)· Okay.· Turn to Page 156.
 14· ·Definitions, standing medical orders, direct medical
 15· ·orders that are those written specifically for the
 16· ·treatment of one person's particular condition.· Do you
 17· ·see that?
 18· · · · A.· · Yes.
 19· · · · Q.· · And then Policy, it is the policy of the
 20· ·Sheriff's Office that all treatment by health care
 21· ·staff is performed pursuant to written standing or
 22· ·direct orders by personnel authorized by law to give
 23· ·such orders, right?
 24· · · · A.· · Correct.· That's what it says.
 25· · · · Q.· · Okay.· So presumably the doctor that wrote

                                    Stevens-Koenig Reporting                          ·Page 36
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 14 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 40
 ·1· · · · Q.· · The judge won't back down.· The judge says,
 ·2· ·No.· Listen, I had a hearing, the doctor testified, I'm
 ·3· ·saying this is extreme, do it?
 ·4· · · · A.· · It's definitely hypothetical.
 ·5· · · · Q.· · Yeah.
 ·6· · · · A.· · The judge -- I just don't think the judge
 ·7· ·would do that.
 ·8· · · · Q.· · I know.· But let's say --
 ·9· · · · A.· · I mean, I've known the judges for a lot of
 10· ·years.
 11· · · · Q.· · Let's say we've got a substitute judge who
 12· ·is just a complete hammerhead and won't listen to
 13· ·reason and says, Look, I'm ordering that this narcotic
 14· ·be given to this patient, period, the end, do it, what
 15· ·do you do?
 16· · · · · · · MR. MICHALEK:· Object to form.
 17· · · · A.· · Depending upon the drug --
 18· · · · Q.· · (By Mr. Lane)· A narcotic.
 19· · · · A.· · -- move him to a facility that allows it.
 20· · · · Q.· · Good answer.· That's a good, reasonable
 21· ·answer.
 22· · · · · · · Because you know what happens when you
 23· ·disobey a court order?
 24· · · · A.· · Oh, yes, very much so.
 25· · · · Q.· · I'm sure you've had many guests at your jail

                                    Stevens-Koenig Reporting                          ·Page 40
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 15 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 42
 ·1· · · · Q.· · So Dr. Fitting, according to jail policy,
 ·2· ·is the final decider about what meds Kyle Schwark was
 ·3· ·going to be on or any other inmate for that matter,
 ·4· ·right?
 ·5· · · · A.· · That's correct.
 ·6· · · · Q.· · Okay.· Would you agree that it's a very
 ·7· ·unusual circumstance to see a judge order that an
 ·8· ·inmate take their medication over to the jail and that
 ·9· ·the jail administer that medication to an inmate?
 10· · · · · · · MR. MICHALEK:· Object to form.
 11· · · · Q.· · (By Mr. Lane)· That's unusual, isn't it?
 12· · · · · · · MR. MICHALEK:· Object to form.
 13· · · · A.· · No.· I mean, I've had other mittimuses where
 14· ·the judge has said they have medication that they need.
 15· · · · Q.· · (By Mr. Lane)· And you have no personal
 16· ·knowledge one way or the other whether or not Kyle
 17· ·Schwark's medications were or were not narcotics or
 18· ·anything else, do you?
 19· · · · A.· · No, not --
 20· · · · Q.· · You have no idea what he was on?
 21· · · · A.· · Not the specific med, no.
 22· · · · Q.· · Do you train your staff in making decisions
 23· ·like -- is it Captain Muldoon?
 24· · · · A.· · The jail administrator, yes.
 25· · · · Q.· · Captain Muldoon, does he have training, to

                                    Stevens-Koenig Reporting                          ·Page 42
                               303-988-8470· www.SKReporting.com                                  YVer1f
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 16 of 18


Kyle Jeffery Schwark vs.                                               Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                         April 12, 2017
                                                                                         Page 45
 ·1· · · · A.· · No, I don't.
 ·2· · · · · · · MR. LANE:· Okay.· I don't have any further
 ·3· ·questions.
 ·4· · · · · · · MR. MICHALEK:· No questions.
 ·5· · · · · · · MR. ZIPORIN:· No questions.· And I'll handle
 ·6· ·review and signature.
 ·7· · · · · · · THE REPORTER:· And counsel, do you all want
 ·8· ·the same order?
 ·9· · · · · · · MR. LANE:· Sure.
 10· · · · · · · MR. ZIPORIN:· Yes, please.
 11· · · · · · · (Discussion off the record.)
 12· · · · · · · THE REPORTER:· And Steve, are you ordering
 13· ·this one as well?
 14· · · · · · · MR. MICHALEK:· Yep, same order.
 15· · · · · · · · *· · *· · *· · *· · *· ·*                       *
 16· · · · · · · WHEREUPON, the foregoing deposition was
 17· ·concluded at 1:55 p.m.· The total time on the record
 18· ·was 53 minutes.
 19
 20
 21
 22
 23
 24
 25

                                    Stevens-Koenig Reporting                              ·Page 45
                               303-988-8470· www.SKReporting.com
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 17 of 18


Kyle Jeffery Schwark vs.                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                     April 12, 2017
                                                                                     Page 46
 ·1· · · · · · · I, FRED WEGENER, the deponent in the above

 ·2· ·deposition, do hereby acknowledge that I have read the

 ·3· ·foregoing transcript of my testimony, and state under

 ·4· ·oath that it, together with any attached Statement of

 ·5· ·Change pages, constitutes my sworn testimony.

 ·6

 ·7· · · _______· ·I have made changes to my deposition.

 ·8· · · _______· ·I have NOT made changes to my deposition.

 ·9

 10
 · · · · · · · · · · · · · · ·_______________________________
 11· · · · · · · · · · · · · ·FRED WEGENER

 12
 · · ·Subscribed and sworn to before me this _____ day of
 13
 · · ·_______________, 2017.
 14

 15· · · · · · · My Commission expires:______________________

 16

 17

 18· · · · · · · · · · · · · · · · · ________________________
 · · · · · · · · · · · · · · · · · · NOTARY PUBLIC
 19· · · · · · · · · · · · · · · · · Address:

 20

 21

 22

 23

 24

 25


                                    Stevens-Koenig Reporting                          ·Page 46
                               303-988-8470· www.SKReporting.com
    Case 1:15-cv-02507-JLK Document 82-1 Filed 10/19/17 USDC Colorado Page 18 of 18


Kyle Jeffery Schwark vs.                                                           Deposition of Fred Wegener
Sheriff Fred Wegener, et al.                                                                     April 12, 2017
                                                                                                     Page 47
 ·1· · · · · · · CERTIFICATE OF DEPOSITION OFFICER

 ·2

 ·3· ·STATE OF COLORADO· · )

 ·4· ·COUNTY OF DENVER· · ·)

 ·5

 ·6· · · · · · ·I, Lisa Persichitte Reed, a Certified

 ·7· ·Realtime Reporter and Notary Public within and for the

 ·8· ·State of Colorado, commissioned to administer oaths, do

 ·9· ·hereby certify that previous to the commencement of the

 10· ·examination, the deponent was duly sworn by me to

 11· ·testify the truth in relation to matters in controversy

 12· ·between the said parties; that the said deposition was

 13· ·taken in stenotype by me at the time and place

 14· ·aforesaid and was thereafter reduced to typewritten

 15· ·form by me; and that the foregoing is a true and

 16· ·correct transcript of my stenotype notes thereof.

 17· · · · · · · That I am not an attorney nor counsel nor in

 18· ·any way connected with any attorney or counsel for any

 19· ·of the parties to said action nor otherwise interested

 20· ·in the outcome of this action.

 21· · · · · · · My commission expires:· April 15, 2020.

 22

 23·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   ·___________________________
 · ·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   ·Lisa Persichitte Reed
 24·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   ·Certified Realtime Reporter
 · ·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   ·Notary Public, State of Colorado
 25


                                                    Stevens-Koenig Reporting                          ·Page 47
                                               303-988-8470· www.SKReporting.com
